         Case 1:19-cr-00561-LAP Document 302 Filed 05/10/21 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



   UNITED STATES,

                          Plaintiff,
                                                                     11 Cr. 0691 (LAP)
            v.

   STEVEN DONZIGER,

                          Defendant.



                                       MOTION TO DISMISS

       On Friday, May 7, 2021, the U.S. Department of Justice notified Mr. Donziger that it was

declining his request from over a month earlier to exercise supervision over this prosecution in the

name of and by the authority of the United States. See Ex. A. In the extraordinary context of this

case, this lack of supervision appears to present a severe constitutional defect that renders the

actions of the private prosecutors unconstitutional and void.

       As this Court recently had occasion to observe, the private prosecutors have repeatedly and

expressly maintained that “the prosecution does not work for Judge Kaplan.” Dkts. 50 at 2; 141 at

2; 150 at 2; 297 at 7. This makes sense because “[p]rivate attorneys appointed to prosecute a

criminal contempt action represent the United States . . . .” Young v. United States ex rel. Vuitton

et fils S. A., 481 U. S. 385, 804 (1987) (emphasis added); see also Robertson v. United States, 560

U.S. 272 (2010) (Roberts, C.J., dissenting from dismissal as improvidently granted). The case

against Mr. Donziger is captioned United States v. Donziger, and the private prosecutors typically

addresses themselves as “the government.” The official court docket entry for the private

prosecutor states: “Designation: Assistant United States Attorney.” And records produced in
         Case 1:19-cr-00561-LAP Document 302 Filed 05/10/21 Page 2 of 3




discovery show that the prosecution team has included FBI agents. Furthermore, prosecution, as

opposed to the adjudication of a criminal contempt, is an inherently executive function. See Young

v. United States ex rel. Vuitton, 481 U.S. at 816-17 (1987) (Scalia, J., concurring) (“The judicial

power . . . does not include the power to seek out law violators in order to punish them.”); United

States v. Nixon, 418 U.S. 683, 693 (1974) (“[T]he Executive Branch has exclusive authority and

absolute discretion to decide whether to prosecute a case.”); In re Flynn, 973 F.3d 74, 94-95 (D.C.

Cir. 2020) (Rao, J. dissenting) (“The Article III courts have no power to make prosecutorial

decisions. And for good reason. Lacking in political accountability to the people, judges have no

mandate to pursue justice by choosing whom to prosecute. If the public disagrees with law

enforcement decisions, it may hold the President and his Attorney General accountable.”).

       It is, however, equally clear that Ms. Glavin and her colleagues do not work for the U.S.

Attorney for the Southern District of New York, nor are subject to any supervision by that office—

which, of course, expressly refused to prosecute this matter. Given that there is no precedent in

this district for a private appointment under Fed. R. Crim. P. 42(a)(2) since Young, it has always

been unclear where the necessary constitutional groundwork would come from. See infra. In in

the closest precedent, the Cutler case out of the Eastern District, it appears there was agreement

that private prosecutor John J. Gallagher was at least subject to the supervision of the U.S.

Attorney, as reflected as the counsel caption reflecting that the matter was being litigated by “Mary

Jo White, U.S. Atty. by John J. Gallagher,” or “Zachary Carter, U.S. Atty. by John J. Gallager,”

and so on. Ex. B. Critically, in that case there was no divided mandate, as the appointment there

did not follow a refusal to prosecute but rather was implemented to avoid a potential conflict of

interest. There is a distinctly divided mandate here—the private prosecutors are pursuing a

prosecution that Southern District prosecutors in exercise of their fundamental constitutional




                                                 2
          Case 1:19-cr-00561-LAP Document 302 Filed 05/10/21 Page 3 of 3




discretion chose not to prosecute. Not coincidentally, the private prosecutors appear never to have

claimed to act under any specific authority or supervision of that office, as Mr. Gallagher did,

instead presenting themselves as acting simply “on behalf of the United States of America.”

        The recent confirmation of the lack of any supervision by the Department of Justice appears

to leave Ms. Glavin constitutionally adrift. This is because she and her colleagues are clearly not

principal officers of the United States who may wield federal executive power subject only to

removal by the President, as they have not been appointed by the President with the advice and

consent of the Senate. Rather, their appointment by the district court makes them “inferior

officers,” who must be subject to supervision by higher authority. See Edmond v. United States,

520 U.S. 651, 663 (1997) (it is “evident that ‘inferior officers’ are officers whose work is directed

and supervised at some level by others who were appointed by Presidential nomination with the

advice and consent of the Senate”); Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S.

477, 510 (2010). Because Ms. Glavin and her colleagues are inferior officers acting without any

acknowledged Executive branch supervisory authority, or any supervisiory or constitutional check

whatsoever, their actions are constitutionally ultra vires and any actions they take or have taken in

this matter are a constitutional nullity.

        Accordingly, the defense moves to dismiss.

        DATED: May 10, 2021                           Respectfully submitted,

                                                                   /s/
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